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July 14, 2023


VIA ECF

The Honorable Jennifer H. Rearden
United States District Judge
500 Pearl St.
Southern District of New York
New York, NY 10007-1312

Re:      United States v. Charles McGonigal, No. 1:23-cr-00016-JHR


Your Honor,

       Defendant Charles McGonigal respectfully withdraws his request for a status conference,
which the Court has scheduled for July 18, 2023.



Respectfully submitted,



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